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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                            )   Chapter 11
                                                                  )
PHOENIX 1040 LLC,                                                 )   Case No. 23-11239 (TMH)
                                                                  )
                             Debtor.                              )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
AMERIFIRST FINANCIAL, INC.,                                       )   Case No. 23-11240 (TMH)
                                                                  )
                             Debtor.                              )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )   Docket Ref. No. 16

                 ORDER (I) DIRECTING JOINT ADMINISTRATION OF
               CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF


         Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing

procedural consolidation and joint administration of the Debtors’ chapter 11 cases and (b)

granting related relief, all as more fully set forth in the Motion; and upon the Avila Declaration;

and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found

that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the

1   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

         1.      The Motion is granted as set forth herein.

         2.      The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 23-11240 (TMH).

         3.      The caption of the jointly administered cases shall read as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         )    Chapter 11
                                                               )
AMERIFIRST FINANCIAL, INC., et al.,1                           )    Case No. 23-11240 (TMH)
                                                               )
                             Debtors.                          )    (Jointly Administered)
                                                               )


1   The Debtors and the last four (4) digits of their respective taxpayer identification numbers include: Phoenix
    1040 LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road,
    Suite 117, Mesa, AZ 85203.

         4.      The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.




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        5.       A docket entry, substantially similar to the following, shall be entered on the

docket of each of the Debtors other than AmeriFirst Financial, Inc. to reflect the joint

administration of these chapter 11 cases:

                 An order has been entered in accordance with Rule 1015(b) of the
                 Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                 Local Rules of Bankruptcy Practice and Procedure of the United
                 States Bankruptcy Court for the District of Delaware, directing
                 joint administration for procedural purposes only of the chapter 11
                 cases of: AmeriFirst Financial, Inc., Case No. 23-11240 (TMH)
                 and Phoenix 1040 LLC, Case No. 23-11239 (TMH). The docket in
                 Case No. 23-11240 (TMH) should be consulted for all matters
                 affecting this case.

        6.       The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of Delaware shall keep, one consolidated docket, one file, and one consolidated

service list for these chapter 11 cases.

        7.       Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

        8.       Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion, and such notice satisfies the requirements of the Bankruptcy Rules and

Local Rules.

        9.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.




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        10.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




          Dated: August 30th, 2023                THOMAS M. HORAN
          Wilmington, Delaware                    UNITED STATES BANKRUPTCY JUDGE




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